                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )   Chapter 11
                                                          )
    FRANCHISE GROUP, INC., et al.,1                       )   Case No. 24-12480 (LSS)
                                                          )
                             Debtors.                     )   (Jointly Administered)
                                                          )
                                                          )

             NOTICE OF AGENDA FOR HEARING OF MATTERS SCHEDULED FOR
                 MAY 6, 2025, AT 11:30 A.M. (PREVAILING EASTERN TIME)

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      The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
                     All hearings before Judge Silverstein are in person.

     Permission to appear remotely at any hearing must be approved by chambers. Case
         participants who are permitted to attend remotely must register using the
          http://www.deb.uscourts.gov/ecourt-appearances tool described below.

  The deadline to register for remote attendance is 4:00 P.M. (prevailing Eastern Time)
   the business day before the hearing unless otherwise noticed. When registering, case
   participants may choose to attend remotely through video or audio access. Please be
 aware that if you choose audio access and the proceedings involve witness testimony, you
 may be disconnected entirely from the hearing or moved to a waiting room and unable to
  hear that portion of the proceedings. Once you register your appearance, a screen will
     appear that states “Thank you for registering your appearance in (Case number)
   (Case name).” An electronic invitation, with the relevant audio or video link, will be
                            emailed to you prior to the hearing.

                 Please do not contact the United States Bankruptcy Court
                    for the District of Delaware to confirm registration.


ADJOURNED/RESOLVED MATTERS

1.      Debtors’ Twelfth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a),
        365(a), and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain
        Unexpired Leases and a Certain Unexpired Sublease, Effective as of the Rejection Date;
        and (II) Abandon Personal Property [D.I. 875, 1/30/25]

        Objection Deadline: March 13, 2025, at 4:00 p.m. (ET)

        Related Documents:

           A.    Twelfth Omnibus Order, Pursuant to Sections 105(a), 365(a), and 554 of the
                 Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired
                 Leases, Effective as of the Rejection Date; and (II) Abandon Personal Property
                 [D.I. 968, 2/12/25]

        Responses Received:

           B.    Landlord’s Response and Reservation of Rights Regarding: Limited Objection
                 and Reservation of Rights of the ChildSmiles Group, LLC, aka Abra Health,
                 LLC, to Debtors’ Twelfth Omnibus Motion for Entry of an Order, Pursuant to
                 Sections 105(a), 365(a), and 554 of the Bankruptcy Code Authorizing the
                 Debtors to (I) Reject Certain Unexpired Leases and a Certain Unexpired
                 Sublease, Effective as of the Rejection Date; and (II) Abandon Personal Property
                 [D.I. 1221, 4/1/25]

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     C.        Limited Objection and Reservation of Rights of the ChildSmiles Group, LLC,
               a/k/a Abra Health, LLC, to Debtors’ Twelfth Omnibus Motion for Entry of an
               Order, Pursuant to Sections 105(a), 365(a), and 554 of the Bankruptcy Code
               Authorizing the Debtors to (I) Reject Certain Unexpired Leases and a Certain
               Unexpired Sublease, Effective as of the Rejection Date; and (II) Abandon
               Personal Property [D.I. 933, 2/6/25]

     Status:   By agreement of the parties, this matter has been adjourned to the hearing
               scheduled on May 20, 2025 at 10:00 a.m. (prevailing Eastern Time).

2.   Fifth & Alton (Edens) LLC’s Motion (I) for the Allowance and Payment of Administrative
     Expense Claim; (II) to Compel Tenant Debtor to Provide Adequate Assurance of Future
     Performance Under the Lease; (III) to Compel the Cure of Nonmonetary Defaults Under
     the Lease; and (IV) to Establish an April 4, 2025 Deadline for the Debtors to Assume or
     Reject the Lease [D.I. 1066, 3/7/25]

     Objection Deadline: March 21, 2025, at 4:00 p.m. (prevailing Eastern Time); extended
                         for the Debtors to April 29, 2025, at 4:00 p.m. (prevailing Eastern
                         Time)

     Related Documents: None to date.

     Responses Received:

          A.   Informal response from the Debtors.

     Status:   The parties have come to a consensual agreement and anticipate that this matter
               will be withdrawn prior to the hearing.

3.   Motion of the Official Committee of Unsecured Creditors for Entry of an Order Granting
     the Committee, Leave, Standing and Authority to Commence, Prosecute and Settle Certain
     Claims on Behalf of the OpCo Debtors’ Estates [D.I. 1200, 3/28/25]

     Objection Deadline: April 11, 2025, at 4:00 p.m. (prevailing Eastern Time)

     Related Documents: None to date.

     Responses Received: None to date.

     Status:   This matter has been adjourned indefinitely under the terms of the global
               settlement agreement.




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4.   Motion of Granite Telecommunications, LLC for Allowance and Payment of
     Administrative Expense Claim [D.I. 1222, 4/1/25]

     Objection Deadline: April 15, 2025, at 4:00 p.m. (prevailing Eastern Time); extended to
                         May 7, 2025, at 4:00 p.m. (prevailing Eastern Time) for the Debtors

     Related Documents: None to date.

     Responses Received: None to date.

     Status:   By agreement of the parties, this matter has been adjourned to the hearing
               scheduled on May 20, 2025 at 10:00 a.m. (prevailing Eastern Time).

5.   Motion of Granite Telecommunications, LLC for Allowance and Payment of
     Administrative Expense Claim [D.I. 1269, 4/9/25]

     Objection Deadline: April 23, 2025, at 4:00 p.m. (prevailing Eastern Time); extended for
                         the Debtors to 4:00 p.m. (prevailing Eastern Time) on April 29,
                         2025

     Related Documents: None at this time.

     Responses Received:

        A.      Debtors’ Objection to Motion of Granite Telecommunications, LLC for
                Allowance and Payment of Administrative Expense Claim [D.I. 1361, 4/29/25]

        B.      Ad Hoc Group of First Lien Lenders’ Joinder to Debtors’ Objection to Motion
                of Granite Telecommunications, LLC for Allowance and Payment of
                Administrative Expense Claim [D.I. 1364, 4/29/25]

     Status:   The parties have agreed that this matter has been adjourned to the hearing
               scheduled on May 20, 2025 at 10:00 a.m. (prevailing Eastern Time).

6.   Motion of Jonathan Ortiz Munoz and Hannah Shalom Moody for Retroactive Relief from
     the Automatic Stay and, to the Extent Applicable, the Plan Injunction to Liquidate Claims
     in Pending State Court Civil Cases [D.I. 1273, 4/11/25]

     Objection Deadline: April 25, 2025, at 4:00 p.m. (prevailing Eastern Time); extended to
                         March 7, 2025 for the Debtors




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     Related Documents:

        A.      Re-Notice of Motion for Retroactive Relief from the Automatic Stay and to the
                Extent Applicable, the Plan Injunction to Liquidate Claims [D.I. 1315, 4/25/25]

     Responses Received:

        B.      Informal response from the Debtors.

     Status:   By agreement of the parties, this matter has been adjourned to the hearing
               scheduled on May 20, 2025 at 10:00 a.m. (prevailing Eastern Time).

MATTERS UNDER CERTIFICATION

7.   Application for Entry of an Order Authorizing and Approving the Retention and
     Employment of Back Bay Management Corporation and Its Division, the Michel-Shaked
     Group, to Provide Expert Witness Services Effective as of March 17, 2025 [D.I. 1189,
     3/27/25]

     Objection Deadline: April 10, 2025, at 4:00 p.m. (prevailing Eastern Time)

     Related Documents: None to date.

        A. Certification of No Objection Regarding Order Authorizing and Approving the
           Retention and Employment of Back Bay Management Corporation and Its
           Division, the Michel-Shaked Group, to Provide Expert Witness Services Effective
           as of March 17, 2025 [D.I. 1292, 4/17/25]

     Responses Received: None.

     Status:   A certificate of no objection has been filed. A hearing is not required unless the
               Court has questions or concerns.

8.   Application of Debtors Freedom VCM Interco, Inc. and Freedom VCM, Inc. for Entry of
     an Order Authorizing the Employment and Retention of Chilmark Partners, LLC as
     Financial Advisor to the Independent Director, Michael J. Wartell, Effective as of February
     26, 2025 [D.I. 1196, 3/28/25]

     Objection Deadline: April 18, 2025, at 4:00 p.m. (prevailing Eastern Time)

     Related Documents:

        A.      Sealed Schedules to Application of Debtors Freedom VCM Interco, Inc. and
                Freedom VCM, Inc. for Entry of an Order Authorizing the Employment and
                Retention of Chilmark Partners, LLC as Financial Advisor to the Independent



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               Director, Michael J. Wartell, Effective as of February 26, 2025
               [(Sealed) D.I. 1197, 3/28/25]

        B.     Certificate of No Objection Regarding Application of Debtors Freedom VCM
               Interco, Inc. and Freedom VCM, Inc. for Entry of an Order Authorizing the
               Employment and Retention of Chilmark Partners, LLC as Financial Advisor to
               the Independent Director, Michael J. Wartell, Effective as of February 26, 2025
               [D.I. 1303, 4/22/25]

     Responses Received: None.

     Status:   A certificate of no objection has been filed. A hearing is not required unless the
               Court has questions or concerns.

MATTERS GOING FORWARD

9.   Debtors’ Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V,
     LLC to Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
     (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens, Rights,
     Interests, and Encumbrances, (III) Approving the Assumption and Assignment of
     Executory Contracts and Unexpired Leases, and (IV) Granting Related Relief [D.I. 1283,
     4/16/25]

     Objection Deadline: April 29, 2025, at 4:00 p.m. (prevailing Eastern Time); as may have
                         been extended for certain parties.

     Related Documents:

        A. Notice of Filing of Amended Schedule 1 to the Sale Order [D.I. 1293, 4/19/25]

     Responses Received:

        B. Limited Response of STAG Industrial Holdings, LLC to Notice of Possible
           Assumption and Assignment of Certain Executory Contracts and Unexpired Leases
           in Connection with Sale and Reservation of Rights [D.I. 608, 1/2/25]

        C. Combined Limited Objection of Beral, LLLP and Laurel Lakes, LLC to (A) the
           Debtors’ Proposed Plan [D.I. 1312]; and (B) the Debtors’ Motion for Entry of an
           Order, Inter Alia, Authorizing Franchise Group Intermediate V, LLC to Enter into
           and Perform Its Obligations Under the Asset Purchase Agreement [D.I. 1283]
           [D.I. 1326, 4/28/25]

        D. Limited Objection of Walt Whitman Road, LLC to: Debtors’ Motion for Entry of
           an Order (I) Authorizing Franchise Group Intermediate V, LLC to Enter into and
           Perform Its Obligations Under the Asset Purchase Agreement, (II) Approving the
           Sale of Certain Assets Free and Clear of All Claims, Liens, Rights, Interests, and

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   Encumbrances, (III) Approving the Assumption and Assignment of Executory
   Contracts and Unexpired Leases, and (IV) Granting Related Relief [D.I. 1335,
   4/29/25]

E. Objection of Turkey Creek Holdings, LLC to Debtors’ Sale Motion (Docket No.
   1283) [D.I. 1336, 4/29/25]

F. Objection of Easton Market SC, LLC to Debtors’ Sale Motion (Docket No. 1283)
   [D.I. 1337, 4/29/25]

G. Limited Objection and Reservation of Rights of WPG Legacy, LLC to the Debtors’
   Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC
   to Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
   (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,
   Rights, Interests, and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
   Related Relief [D.I. 1340, 4/29/25]

H. Oracle’s Rights Reservation Regarding Debtors’ Motion for Entry of an Order
   (I) Authorizing Franchise Group Intermediate V, LLC to Enter into and Perform Its
   Obligations Under the Asset Purchase Agreement, (II) Approving the Sale of
   Certain Assets Free and Clear of All Claims, Liens, Rights, Interests, and
   Encumbrances, (III) Approving the Assumption and Assignment of Executory
   Contracts and Unexpired Leases and (IV) Granting Related Relief (“Rights
   Reservation”) [D.I. 1341, 4/29/25]

I. Limited Objection and Reservation of Rights of the Chubb Companies to Debtors’
   Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC
   to Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
   (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,
   Rights, Interests, and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
   Related Relief [D.I. 1346, 4/29/25]

J. Limited Objection and Reservation of Rights of Certain Landlords to Debtors to
   Debtors’ Proposed Cure Amounts and Assumption and Assignment of Certain
   Leases [D.I. 1348, 4/29/25]

K. Glanbia Performance Nutrition (NA), Inc.’s Limited Objection and Reservation of
   Rights Regarding the Potential Assumption and Assignment of Executory
   Contracts [D.I. 1353, 4/29/25]

L. Renewed Limited Objection and Reservation of Rights of Frontier Dania LLC to
   Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC
   to Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
   (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,

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   Rights, Interests and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
   Related Relief [D.I. 1356, 4/29/25]

M. Sunwarrior Entities’ Limited Objection and Reservation of Rights Regarding the
   Potential Assumption and Assignment of Executory Contracts [D.I. 1357, 4/29/25]

N. Renewed Limited Objection and Reservation of Rights of Frontier Osceola LLC to
   Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC
   to Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
   (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,
   Rights, Interests and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
   Related Relief [D.I 1358, 4/29/25]

O. Woodbolt Distribution, LLC’s Reservation of Rights Regarding the Potential
   Assumption and Assignment of Executory Contracts [D.I. 1359, 4/29/25]

P. Renewed Limited Objection and Reservation of Rights of Frontier Kissimmee LLC
   to Motion for Entry of an Order (I) Authorizing Franchise Group Intermediate V,
   LLC to Enter into and Perform Its Obligations Under the Asset Purchase
   Agreement, (II) Approving the Sale of Certain Assets Free and Clear of All Claims,
   Liens, Rights, Interests and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
   Related Relief [D.I. 1360, 4/29/25]

Q. Limited Objection and Reservation of Rights of Frontier Bel Aire LLC’s to Motion
   for Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC to
   Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
   (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,
   Rights, Interests and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
   Related Relief [D.I. 1362, 4/29/25]

R. Limited Objection and Reservation of Rights of Commerce 9005 LLC and
   Commerce #9602 LLC to Debtors’ Proposed Cure Amounts and Assumption and
   Assignment of Certain Leases [D.I. 1363, 4/29/25]

S. Ventura Gateway’s Objection and Reservation of Rights to Debtors’ Motion for
   Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC to Enter
   into and Perform Its Obligations Under the Asset Purchase Agreement,
   (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,
   Rights, Interests, and Encumbrances, (III) Approving the Assumption and
   Assignment of Executory Contracts and Unexpired Leases, And (IV) Granting
   Related Relief [D.I. 1365, 4/30/25]


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          T. CTO23 Rockwall LLC’s Objection and Reservation of Rights to Debtors’ Motion
             for Entry of an Order (I) Authorizing Franchise Group Intermediate V, LLC to
             Enter into and Perform Its Obligations Under the Asset Purchase Agreement,
             (II) Approving the Sale of Certain Assets Free and Clear of All Claims, Liens,
             Rights, Interests, and Encumbrances, (III) Approving the Assumption and
             Assignment of Executory Contracts and Unexpired Leases, and (IV) Granting
             Related Relief [D.I. 1366, 4/30/25]

          U. Objection of Benenson Capital Partners, LLC, Boswell Avenue I, LLC, DLC
             Management Corporation, Inland Commercial Real Estate Services LLC, and
             National Realty & Development Corp., to the Proposed (I) Sale And
             (II) Assumption/Assignment to TVS Buyer, LLC [D.I. 1367, 4/30/25]

          V. Newington Corner, LLC’s and Staten Island Richmond Avenue, LLC’s Objection
             and Reservation of Rights to Debtors’ Motion for Entry of an Order (I) Authorizing
             Franchise Group Intermediate V, LLC to Enter into and Perform Its Obligations
             Under the Asset Purchase Agreement, (II) Approving the Sale of Certain Assets
             Free and Clear of All Claims, Liens, Rights, Interests, and Encumbrances,
             (III) Approving the Assumption and Assignment of Executory Contracts and
             Unexpired Leases, and (IV) Granting Related Relief [D.I. 1379, 5/1/25]

          W. Informal Responses of the Following Parties:

                 1. Various landlords represented by Ballard Spahr LLP
                 2. Sayville Plaza Development LLC
                 3. STAG Industrial Holdings, LLC
                 4. Various landlords represented by Burr & Forman LLP
                 5. Aberdeen Oklahoma Assoc & Pasan Trust c/o Kin Properties
                 6. River Oaks El Mercado, LLC and Laguna Gateway Phase 2 L.P.
                 7. RCG-PSC Camp Creek Owner, LLC
                 8. Vestar-CPT Tempe Marketplace, LLC and Mundy Street Square, L.P.
                 9. 211 Wallkill Realty LLC
                 10. IVT Renaissance Center Durham I, LP
                 11. Fifth &Alton (Edens) LLC
                 12. Newport Property, LLC c/o Shin Yen Management Inc.
                 13. Peabody Center LLC and Wilshire Plaza Limited Partnership
                 14. DRP Market Heights Property Owner, LLC
                 15. CorVel Enterprise Comp, Inc.
                 16. Nature’s Answer (a division of Bio Answer Holdings, Inc.)
                 17. JS Champaign Inv LLC
                 18. New Chapter, Inc c/o P&G
                 19. MLM Chino Property LLC
                 20. Various landlords associated with Kimco Realty Corporation

Status:      This matter is going forward. The Debtors are working with the parties who have
             submitted responses and objections, which primarily comprise cure responses and
             adequate assurance requests. With the exception of Item I, which will go forward
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                absent a consensual resolution in advance of the hearing, the Debtors anticipate
                continuing to work with parties to resolve the responses received and will address
                any unresolved matters at a subsequent hearing, if necessary.

ADVERSARY MATTER PRETRIAL CONFERENCE - WILMINGTON TRUST N.A. v.
ALTER DOMUS (US) LLC (25-50441)

10.   Complaint [D.I. 1, 3/23/25]

      Objection Deadline: April 23, 2025

      Related Documents:

         A.        Summons and Notice of Pretrial Conference in Adversary Proceeding [D.I. 3,
                   3/25/25]

         B.        Plaintiff’s Motion for Summary Judgment [D.I. 4, 4/1/25]

         C.        Memorandum of Law in Support of Plaintiff’s Motion for Summary Judgment
                   [D.I. 5, 4/1/25]

         D.        Declaration of Jason M. Pierce in Support of Plaintiff’s Motion for Summary
                   Judgment [D.I. 6, 4/1/25]

         E.        Certification of Counsel [D.I. 8, 4/22/25]

         F.        Order Approving Stipulation Staying Adversary Proceeding [D.I. 9, 4/24/25]

      Responses Received:

      Status:          An order has been entered staying this adversary proceeding.

                                    [Signature Page Follows]




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Dated: May 2, 2025
Wilmington, Delaware

 /s/ Allison S. Mielke
  YOUNG CONAWAY STARGATT &                     KIRKLAND & ELLIS LLP
  TAYLOR, LLP                                  KIRKLAND & ELLIS INTERNATIONAL LLP
  Edmon L. Morton (Del. No. 3856)              Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Matthew B. Lunn (Del. No. 4119)              Nicole L. Greenblatt, P.C. (admitted pro hac vice)
  Allison S. Mielke (Del. No. 5934)            Derek I. Hunter (admitted pro hac vice)
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 Co-Counsel to the Debtors                     Co-Counsel to the Debtors
 and Debtors in Possession                     and Debtors in Possession




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